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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
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MEMORANDUM

UNITED STATES OF AMERICA

VS. CASE NO: 6:16-mj-1243

GARY HIRST
DATE: May 27, 2016

Your Case No.: 16-MAG-2978
TO: United States District Court

Southern District of New York

500 Pearl St.

New York, NY 10007
FROM: Helyn LaTorre, Courtroom Deputy for
David A. Baker, United States Magistrate Judge
U.S. Courthouse
401 West Central Boulevard
Orlando, Florida 32801
SUBJECT: Rule 5(c) Proceedings
The above styled case originated in your district. Enclosed please find original documents
regarding proceedings held in the Middle District of Florida in Orlando, Florida wherein the following
action was taken:
INITIAL APPEARANCE: May 11, 2016
RELEASE/DETENTION: Conditions of Release were set and the Defendant was released on bond.
SCHEDULED HEARING: Upon notice by the charging district.
CHARGING DOCUMENT: — Complaint

Enclosures.
